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                                      EXHIBIT B




DOCS_DE:238920.1 05233/003
                                                         Exhibit B




                                                          Delivery &                               Statement   Marketing Exp
Store #        Store Name    Merchandise     Royalty     Shuttle Fees   Warranty       Other         Total       Invoice     Total AR
          220 Muncie        $ 126,788.07 $     5,212.12 $    5,714.35 $   3,066.64 $     (264.10) $ 140,517.08 $ 21,796.22 $ 162,313.30
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